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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND
                                        at Greenbelt
                                 In re:    Case No.: 10−37371 − TJC          Chapter: 11

KH Funding Company
Debtor

                    NOTICE OF INCORRECT OR INSUFFICIENT ADDRESS



The Court was notified that mail sent to James E. Van Horn was undeliverable and returned by the U.S. Postal
Service due to an incorrect or insufficient address.

Pursuant to Local Bankruptcy Rule 4002−1(a), every debtor must maintain a current address with the Clerk. This
obligation continues until the case is closed.

Pursuant to Local Bankruptcy Rule 9010−2(a), counsel and parties appearing without counsel must file and maintain
a current address and telephone number in every case in which such person appears. This obligation continues until
the case is closed.

Debtor/Creditor is advised that a notice of current address or address change for James E. Van Horn must be filed
with the Court within fourteen days (14) of the date of this notice. Failure to correct the address may result in further
action by the Court.




Dated: 7/14/22
                                                             Mark A. Neal, Clerk of Court
                                                             by Deputy Clerk, Adrienne Fernandez
                                                             Team Phone: 410−962−0794




Form ntcpyrtm
